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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
                                                              :
BUZZFEED, INC.,                                               :
111 East 18th Street, 13th Floor                              :
New York, NY 10003                                            :
                                                              :   Case No. 19-cv-1219
                                    Plaintiff,                :
                                                              :
                  - - against - -                             :   COMPLAINT
                                                              :
U.S. CITIZENSHIP AND                                          :
IMMIGRATION SERVICES,                                         :
20 Massachusetts Ave., NW                                     :
Washington, DC 20529-2090                                     :
                                                              :
                                    Defendant.                :
                                                              :
--------------------------------------------------------------X

        1.       Plaintiff BUZZFEED, INC. files this Freedom of Information Act lawsuit after its

reporter Lam Thuy Vo submitted a request to Defendant U.S. CITIZENSHIP AND

IMMIGRATION SERVICES for a copy of a database relating to applications for asylum and for

withholding of removal.

        2.       To date, BUZZFEED, INC. has received no records in response to that request.

                                                   PARTIES

        3.       Plaintiff BUZZFEED, INC. (“BUZZFEED”) is a Delaware corporation with its

principal place of business in New York, NY.

        4.       Defendant U.S. CITIZENSHIP AND IMMIGRATION SERVICES (“USCIS”) is

a component of a federal agency subject to the Freedom of Information Act.

                                     JURISDICTION AND VENUE

        5.       This case is brought under 5 U.S.C. § 552 and presents a federal question

conferring jurisdiction on this Court.

        6.       Venue is proper under 5 U.S.C. § 552(a)(4)(B).
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                                        BACKGROUND

       7.      USCIS’s Refugee Asylum and Parole System (“RAPS”) is a database that tracks

the processing of asylum claims submitted in the affirmative asylum process.

       8.      The Department of Homeland Security has previously disclosed to third parties

some data held in RAPS.

       9.      Examples of such disclosures can be found at Lives in the Balance, Georgetown

Law (2014), https://www.law.georgetown.edu/human-rights-institute/human-rights-on-

campus/scholarship/lives-in-the-balance.

       10.     Those disclosures include partial datasets from RAPS for FY 1996, FY 1997, FY

1998 (partial), FY 1998.5 (partial), FY 1999, FY 2000, FY 2001, FY 2002, FY 2003, FY 2004,

FY 2005, FY 2006, FY 2007, FY 2008, and FY 2009 (partial).

       11.     On November 9, 2018, BUZZFEED requested via email from USCIS “[a] copy of

the database created from completed USCIS Forms I-589 applications . . . received by USCIS

between January 1, 2008 through the date of search . . . ,” i.e., the RAPS database.

       12.     A true and correct copy of that request is annexed hereto as Exhibit A.

       13.     On November 21, 2018, USCIS acknowledged that request, which it claimed to

have received on November 20, 2018, and assigned it control number NRC2018172222.

       14.     A true and correct copy of that acknowledgment is annexed hereto as Exhibit B.

       15.     That same day, USCIS denied BUZZFEED’s request for expedited processing.

       16.     A true and correct copy of that correspondence is annexed hereto as Exhibit C.

       17.     Twenty working days have elapsed since the request was received by USCIS.

       18.     As of the date of this Complaint, BUZZFEED has not received from USCIS any

documents responsive to its request.




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                             COUNT I – VIOLATION OF FOIA

       19.     The above paragraphs are incorporated herein.

       20.     USCIS is an agency subject to FOIA.

       21.     BUZZFEED made a FOIA request to USCIS for agency records of USCIS.

       22.     The requested records are not exempt from disclosure.

       23.     USCIS has failed to produce the requested records.

WHEREFORE, BUZZFEED asks the Court to:

          i.   Order USCIS to conduct a reasonable search for records and to produce all non-

               exempt requested records;

         ii.   Award BUZZFEED attorney fees and costs; and

        iii.   Enter any other relief the Court deems appropriate.


Dated: February 8, 2019                              Respectfully Submitted,

                                                     BUZZFEED, INC.


                                        By:          s/ Nabiha Syed

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